           Case 1:19-cv-11438-PBS Document 123 Filed 06/29/20 Page 1 of 2




                               IN HE NI ED S A ES DIS RIC CO R
                               FOR HE DIS RIC OF MASSACH SE S



N ANCE COMM NICA IONS, INC.,

                           P                       C
                           D               ,
                                                                        C       N . 1:19-C -11438-PBS
           .

OMILIA NA RAL LANG AGE
SOL IONS, L D.,

                           D                           C
                           P           .

    DECLARA ION OF DIMI RIS ASSOS IN S PPOR OF OMILIA S MO ION O
        DISMISS CO N S I - III OF HE FIRS AMENDED COMPLAIN

          I, D                     ,

      .

          1.           I    CEO                F               O    N           L        S         ,L .( O           ).

          2.           I                                   N            26, 2015             C         C         N

C                          I .( N                  ).

          3.           O D                 9, 2015, I               N                                  . I                ,

I              O                                   N                                             . I

O

                 ,                                                       . N         I   O

                 N             N                   26          .

          4.           I                                                                                     .

E                  J       28, 2020,           A

                                                                            D

                                                                   -1-
                                                                                         DECLARA ION OF DIMI RIS ASSOS
     Case 1:19-cv-11438-PBS Document 123 Filed 06/29/20 Page 2 of 2



                            CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to

electronic service are being served on June 29, 2020, with a copy of this document via the

Court’s CM/ECF system per Local Rule CV-5.4 (c).

                                               /s/ Kevin C. Adam
                                                Kevin C. Adam




                                           2
